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     Mark Rumold (SBN 279060)
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     (415) 694-1639
 3
     Attorney for Plaintiff
 4   William Pickard
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 7
 8                                UNITED STATES DISTRICT COURT

 9                        FOR THE NORTHERN DISTRICT OF CALIFORNIA

10                                     SAN FRANCISCO DIVISION

11   WILLIAM LEONARD PICKARD,                           )     Case No.: 3:06-cv-00185-CRB
                                                        )
12                                        Plaintiff,    )     MOTION TO WITHDRAW AS
                                                        )     COUNSEL; [PROPOSED] ORDER
13           v.                                         )
                                                        )
14                                                      )
     DEPARTMENT OF JUSTICE,                             )     Hon. Charles R. Breyer
15                                                      )     Ctrm. 6, 17th Floor
                                        Defendant.      )
16                                                      )

17
18           Pursuant to Local R. 11-5, Mark Rumold seeks leave of Court to withdraw as counsel for

19   Plaintiff in this matter.

20           Mr. Rumold conferred with opposing counsel prior to filing this motion. Opposing counsel

21   indicated that the government took no position on the motion and would not file an opposition.

22           Good cause exists for this request as follows:

23           1.      Mr. Rumold has provided Plaintiff, Mr. Pickard, with pro bono representation in

24   this matter since 2012.

25           2.      Throughout this period, Mr. Rumold worked full-time for a non-profit legal

26   organization. Because this case was outside the scope of the organization’s mandate, Mr. Rumold

27   undertook this representation by himself and on his own time, using evenings and weekends to

28   perform the majority of the work in this case—hundreds of hours over the course of six years.

                                                       1
                                        MOTION TO WITHDRAW AS COUNSEL
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 1          3.        On September 10, 2018, Mr. Rumold will begin a one-year clerkship on the Ninth
 2   Circuit Court of Appeals. This change in employment requires Mr. Rumold to terminate all
 3   ongoing representations, including his representation of Mr. Pickard.
 4          4.        Mr. Rumold provided notice to Mr. Pickard of his need to withdraw from this matter
 5   in Spring 2018. Mr. Pickard consents to the withdrawal.
 6          5.        Mr. Rumold has diligently sought—thus far unsuccessfully—to locate substitute pro
 7   bono counsel. Mr. Rumold will continue to search for substitute counsel until his clerkship begins.
 8   Alternatively, and to the extent the Court sees fit, Mr. Pickard respectfully requests the Court
 9   appoint substitute counsel.
10          6.        Until counsel is identified, Mr. Pickard intends to proceed pro se.
11          7.        Mr. Rumold’s withdrawal will not substantially burden the parties1 or unduly delay
12   resolution of the case. The case is currently stayed, pending resolution of Mr. Pickard’s petition for
13   certiorari.2 See Dkt. No. 294. This stay affords Mr. Pickard additional time to identify and retain
14   substitute pro bono counsel before proceedings resume in this Court. Additionally, as a result of
15   ongoing litigation in federal district court in Kansas, the government has agreed to unseal many of
16   the records at issue in this case. See Notice of Intent to Comply with Court Order, filed in United
17   States v. Pickard, 00-cr-40104 (D. Kan. May 23, 2018) (ECF No. 823). Depending on the
18   government’s disclosures, that unsealing could work to substantially narrow the remaining matters
19   in dispute. And, finally, even if Mr. Pickard must ultimately proceed pro se, he is a sophisticated
20   litigant with knowledge of and experience with the applicable law. Although constrained by
21   resources and his circumstances, he will represent his interests capably.
22          8.        Mr. Rumold has also complied with all applicable Rules of Professional Conduct.
23   See Ca. Rules of Professional Conduct 3-700.
24          For all these reasons, Mr. Rumold respectfully asks that the Court grant his motion to
25   withdraw in this matter.
26
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            1
                Mr. Rumold’s withdrawal will not prejudice or burden the government.
28          2
                Mr. Rumold is not counsel of record for Mr. Pickard’s petition before the Supreme Court.
                                                        2
                                         MOTION TO WITHDRAW AS COUNSEL
                                             No. 3:06-cv-00185-CRB
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     Dated: August 23, 2018                 Respectfully submitted,
 1
 2                                          By:       /s/ Mark Rumold__
                                                      MARK RUMOLD
 3
 4
 5
           The above withdrawal of counsel is approved and so ORDERED.
 6
 7
 8   DATED: _______________                 _________________________________
                                            HONORABLE CHARLES R. BREYER
 9                                          UNITED STATES SENIOR DISTRICT JUDGE

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                                  MOTION TO WITHDRAW AS COUNSEL
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 1                                   CERTIFICATE OF SERVICE
 2          I hereby certify that on August 23, 2018, I electronically filed the foregoing document with
 3   the Clerk of the Court, using the CM/ECF system, which will send notification of such filing to the
 4   counsel of record in this matter who are registered on the CM/ECF system.
 5          Executed on August 23, 2018, in San Francisco, California.
 6
 7                                               /s/ Mark Rumold
                                                    Mark Rumold
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                                           CERTIFICATE OF SERVICE
                                         CASE NO.: 3:06-CV-00185-CRB
